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                        IN THE UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT

        MARYLAND SHALL ISSUE, INC., et al., *
                                            *
           Plaintiffs-Appellants,           *
                                            *               No. 23-1719
           v.                               *
                                            *
        MONTGOMERY COUNTY,                  *
        MARYLAND,                           *
                                            *
           Defendant-Appellee.              *

            DEFENDANT’S RESPONSE TO PLAINTIFFS-APPELLANTS’ MOTION
             FOR CLARIFICATION AND ALTERNATIVE MOTION RENEWING
             PLAINTIFFS’ MOTION FOR AN INJUNCTION PENDING APPEAL

               Defendant-Appellee Montgomery County, Maryland (“the County”), by and

        through its undersigned counsel, and pursuant to Rule 27(a)(3) of the Federal Rules

        of Appellate Procedure and this Court’s August 8, 2023, Order (Doc. 23),1 files its

        Response to Plaintiffs-Appellants’ Motion for Clarification and Alternative Motion

        Renewing Plaintiffs’ Motion for an Injunction Pending Appeal (the “Plaintiffs’

        Motion”).

        1.     The County incorporates by reference herein its Response (Doc. 15) to

        Plaintiffs’ initial Emergency Motion for a Rule 8 Injunction Pending Appeal.

        2.     To the extent applicable, the County renews its Motion to Strike Plaintiffs’


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          The County will refer to docket entries in the U.S. District Court (Case No. 8:21-
        CV-01736-TDC) as “ECF,” and will use “Doc.” to reference docket entries in the
        instant interlocutory appeal before this Court, No. 23-1719.
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        Supplemental Factual Allegations and Exhibits Contained in Plaintiffs’ Emergency

        Motion for a Rule 8 Injunction Pending Appeal (Doc. 14).

        3.    As noted by Plaintiffs’ Motion (Doc. 22 at 2), the District Court has not

        entered any order staying proceedings.

              WHEREFORE, the County respectfully submits Plaintiffs’ Motion should be

        denied.

                                             Respectfully submitted,

                                             JOHN P. MARKOVS
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                  CERTIFICATE OF COMPLIANCE WITH RULE 32(g)
                     Certificate of Compliance with Length Limitation,
                    Typeface Requirements, and Type Style Requirements

        1.    This Response complies with the length limitation of Fed. R. App. P.
              27(d)(2)(A) because this brief contains 175 words, excluding the parts
              exempted by Fed. R. App. P. 32(f).

        2.    This Response complies with the typeface requirements of Fed. R. App. P.
              32(a)(5) and the type style requirements of Fed. R. App. P. 32(a)(6) because
              this brief has been prepared in a proportionally spaced typeface using
              Microsoft Word in Times New Roman 14 point font.


                                                                  /s/
                                                           Erin J. Ashbarry
                                                           Attorney for Appellee
                                                           Dated: August 11, 2023


                                   CERTIFICATE OF SERVICE

               I HEREBY CERTIFY that on August 11, 2023, a copy of the foregoing was
        filed to be transmitted via this Court’s CM/ECF Electronic Document Filing
        System to:

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                                                                  /s/
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